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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA




 IN RE: GENERIC PHARMACEUTICALS                       MDL No. 2724
 PRICING ANTITRUST LITIGATION                         Case No. 2:16-MD-02724

                                                      Hon. Cynthia M. Rufe
 THIS DOCUMENT RELATES TO:

 ALL ACTIONS



                      NOTICE OF EX PARTE, IN CAMERA FILING


       Intervenor United States of America hereby provides notice of the ex parte, in camera

filing of the Declaration of Ryan Danks, which has been mailed to chambers.



Dated: May 30, 2019



                                           Respectfully submitted,


                                           /s/ Nathan Brenner
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                                           Counsel for Intervenor United States of America




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on May 30, 2019, I caused a copy of the foregoing to be filed

electronically via the Court’s electronic filing system. Those attorneys who are registered with

the Court’s electronic filing system may access this filing through the Court’s system, and

notice of this filing will be sent to these parties by operation of the Court’s electronic filing

system.


                                               /s/ Nathan Brenner
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